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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                  United States District Court
                                         Eastern District of California

         UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                     v.                                              (For Offenses Committed On or After November 1, 1987)
              ERIC JOHNSTON                                          Case Number: 2:12CR00238-02


                                                                     Jan Karow sky, Appointed
                                                                     Defendant’ s Attorney

THE DEFENDANT:

[U]     pleaded guilty to count: 1 of the Indictment.
[]      pleaded nolo contendere to counts(s)        w hich w as accepted by the court.
[]      w as found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the follow ing offense:
                                                                                       Date Offense         Count
Title & Section                   Nature of Offense                                    Concluded            Number
18 U.S.C. section 2422(b)         Enticement of a Minor (CLASS A FELONY)               06/08/2012-          1
                                                                                       06/18/2012




       The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]      The defendant has been found not guilty on counts(s)               and is discharged as to such count(s).

[]      Count(s)        (is)(are) dismissed on the motion of the United States.

[]      Indictment is to be dismissed by District Court on motion of the United States.

[U]     Appeal rights given.                        []       Appeal rights w aived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                             07/31/2014
                                                             Date of Imposition of Judgment



                                                             Signature of Judicial Officer

                                                             MORRISON C. ENGLAND, JR., United States District Judge
                                                             Name & Title of Judicial Officer

                                                             08/12/2014
                                                             Date
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                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 144 months to be served concurrently to any sentence the defendant is currently serving in
Sacramento County Superior Court, docket number 12F04917.



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the follow ing recommendations to the Bureau of Prisons:
        The court recommends that the defendant be incarcerated in the Terminal Island, California facility, but
        only insofar as this accords w ith security classification and space availability. The court recommends the
        defendant participate in the 500-Hour Bureau of Prisons Substance Abuse Treatment Program.


[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                          RETURN
I have executed this judgment as follow s:




        Defendant delivered on                                        to

at                                              , w ith a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                              By
                                                                                               Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               2:12CR00238-02                                                                         Judgment - Page 3 of 8
DEFENDANT:                 ERIC JOHNSTON


                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 240 months.


The defendant must report to the probation office in the district to w hich the defendant is released w ithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlaw fully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
controlled substance. The defendant shall submit to one drug test w ithin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court' s determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous w eapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[U]      The defendant shall comply w ith the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
         16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in w hich he or she resides, w orks, is a student, or w as convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The defendant must comply w ith the standard conditions that have been adopted by this court as w ell as w ith any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district w ithout permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answ er truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall w ork regularly at a law ful occupation unless excused by the probation officer for schooling, training or
      other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate w ith any persons engaged in criminal activity, and shall not associate w ith any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsew here, and shall permit
      confiscation of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer w ithin seventy-tw o hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      w ithout the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant' s criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant' s compliance w ith such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
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                                SPECIAL CONDITIONS OF SUPERVISION
        1.   The defendant shall provide the probation officer with access to any requested financial
             information.

        2.   The defendant shall not open additional lines of credit without the approval of the probation
             officer.

        3.   As directed by the probation officer, the defendant shall participate in an outpatient correctional
             treatment program to obtain assistance for drug or alcohol abuse.

        4.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
             breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

        5.   The defendant shall not possess or have access to any paging device or cellular phone without
             the advance permission of the probation officer. The defendant shall provide all billing records
             for such devices, whether used for business or personal, to the probation officer upon request.

        6.   The defendant shall be monitored for a period of 12 months, with location monitoring
             technology, which may include the use of radio frequency (RF) or Global Positioning System
             (GPS) devices, at the discretion of the probation officer. The defendant shall abide by all
             technology requirements and shall pay the costs of location monitoring based upon their ability
             to pay as directed by the probation officer. In addition to other court-imposed conditions of
             release, the defendant’s movement in the community shall be restricted as determined by the
             probation officer.

        7.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
             treatment or testing and shall make payment directly to the vendor under contract with the
             United States Probation Office of up to $25 per month.

        8.   The defendant shall submit to the search of his person, property, house, residence, vehicle,
             papers, computer, other electronic communication or data storage devices or media, and effects
             at any time, with or without a warrant, by any law enforcement or probation officer in the lawful
             discharge of the officer’s supervision functions with reasonable suspicion concerning unlawful
             conduct or a violation of a condition of probation or supervised release. Failure to submit to a
             search may be grounds for revocation. The defendant shall warn any other residents that the
             premises may be subject to searches pursuant to this condition.

        9.   The defendant shall not possess or use a computer or any device that has access to any “on-line
             computer service” unless approved by the probation officer. This includes any Internet service
             provider, bulletin board system, or any other public or private computer network.

        10. The defendant shall have no contact with known children under the age of 18, unless approved
            by the probation officer in advance. The defendant is not to loiter within 100 feet of school
            yards, parks, playgrounds, arcades, or other places primarily used by children under the age of
            18. This shall include that the defendant is not to engage in any occupation, either paid or
            volunteer, that causes him/her to regularly contact known persons under the age of 18.
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        11. The defendant shall consent to the probation officer and/or probation service representative
            conducting periodic unannounced examinations of (a) any computer, or (b) computer-related
            device, or (c) equipment that has an internal or external modem which is in the possession or
            control of the defendant. The defendant consents to retrieval and copying of all data from any
            such computer, computer-related device, or equipment as well as any internal or external
            peripherals to ensure compliance with conditions. The defendant consents to removal of such
            computer, computer-related device, and equipment for purposes of conducting a more thorough
            inspection; and analysis.

             The defendant consents to having installed on any computer, computer-related device, and
             equipment, at the defendant’s expense, any hardware or software systems to monitor the use of
             such computer, computer-related device, and equipment at the direction of the probation officer,
             and agrees not to tamper with such hardware or software and not install or use any software
             programs designed to hide, alter, or delete his/her computer activities. The defendant consents
             to not installing new hardware without the prior approval of the probation officer.

        12. The defendant shall not possess, own, use, view, or read material depicting and/or describing
            sexually explicit conduct, including computer images, pictures, photographs, books, writings,
            drawings, videos, or video games. “Sexually explicit conduct” as defined in 18 USC 2256(2)
            means actual or simulated (a) sexual intercourse, including genital-genital, oral-genital, or oral-
            anal, whether between the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or
            masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any person.
            Furthermore, the defendant shall not frequent places where the primary purpose is related to
            such material.

        13. The defendant shall provide all requested business/personal phone records to the probation
            officer. The defendant shall disclose to the probation officer any existing contracts with
            telephone line/cable service providers. The defendant shall provide the probation officer with
            written authorization to request a record of all outgoing or incoming phone calls from any
            service provider.

        14. The defendant shall consent to third-party disclosure to any employer or potential employer,
            concerning any computer-related restrictions that are imposed upon him/her. This includes any
            activities in which you are acting as a technician, advisor, or consultant with or without any
            monetary gain or other compensation.

        15. The defendant shall attend, cooperate with, and actively participate in a sex offender treatment
            and therapy program [which may include, but is not limited to, risk assessment, polygraph
            examination, computer voice stress analysis (CVSA), and/or ABEL assessment] as approved
            and directed by the probation officer and as recommended by the assigned treatment provider.

        16. The defendant’s residence shall be pre-approved by the probation officer. The defendant shall
            not reside in direct view of places such as school yards, parks, public swimming pools, or
            recreational centers, playgrounds, youth centers, video arcade facilities, or other places primarily
            used by children under the age of 18.

        17. The defendant shall not associate with or contact victim in Sacramento County Superior Court,
            Docket Number 12F04917, as directed by the probation officer.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
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DEFENDANT:                    ERIC JOHNSTON


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                        Fine                   Restitution
      Totals:                                        $100.00                           $                         $


[]    The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) w ill
      be entered after such determination.

[]    The defendant must make restitution (including community restitution) to the follow ing payees in the amount listed
      below .

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherw ise in the priority order or percentage payment column below . How ever, pursuant to 18 U.S.C.
      § 3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                       Total Loss*                Restitution Ordered      Priority or Percentage


      TOTALS:                                           $                             $




[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is
      paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
      payment options on Sheet 6 may be subject to penalt ies f or delinquency and default, pursuant to 18 U.S.C. §
      3612(g).

[ ]        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      []    The interest requirement is w aived for the             [ ] fine              [ ] restitution

      []    The interest requirement for the                [ ] fine [ ] restitution is modified as follow s:




[]    If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
      and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]    If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
      and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  * * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
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DEFENDANT:                   ERIC JOHNSTON

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follow s:

A    [ ] Lump sum payment of $                 due immediately, balance due

         []        not later than    , or
         []        in accordance w ith    [ ] C,             [ ] D,   [ ] E, or   [ ] F below ; or

B    [U]           Payment to begin immediately (may be combined w ith [ ] C,                        [ ] D, or [ ] F below ); or

C    [ ] Payment in equal    (e.g., w eekly, monthly, quarterly) installments of $    over a period of                  (e.g., months
         or years), to commence      (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal    (e.g., w eekly, monthly, quarterly) installments of $   over a period of   (e.g., months
         or years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release w ill commence w ithin   (e.g., 30 or 60 days) after release
         from imprisonment. The court w ill set the payment plan based on an assessment of the defendant’ s ability
         to pay at that time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherw ise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made tow ard any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the follow ing court cost(s):

[]   The defendant shall forfeit the defendant’ s interest in the follow ing property to the United States:
